            Case 2:25-cv-00255-JNW          Document 15         Filed 02/11/25       Page 1 of 5




 1                                                    THE HONORABLE JAMAL N. WHITEHEAD

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9    PLAINTIFF PACITO; PLAINTIFF ESTHER;                   Case No. C25-255 JNW
      PLAINTIFF JOSEPHINE; PLAINTIFF SARA;
10    PLAINTIFF ALYAS; PLAINTIFF MARCOS;                    DECLARATION OF JONATHAN P.
      PLAINTIFF AHMED; PLAINTIFF RACHEL;                    HAWLEY IN SUPPORT OF
11    PLAINTIFF ALI; HIAS, INC.; CHURCH                     PLAINTIFFS’ MOTION FOR
      WORLD SERVICE, INC.; and LUTHERAN                     PRELIMINARY INJUNCTION
12    COMMUNITY SERVICES NORTHWEST,
13
                           Plaintiffs,
14
                    v.
15
      DONALD J. TRUMP, in his official capacity as
16    President of the United States; MARCO RUBIO,
      in his official capacity as Secretary of State;
17    KRISTI NOEM, in her official capacity as
18    Secretary of Homeland Security; DOROTHY A.
      FINK, in her official capacity as Acting Secretary
19    of Health and Human Services,

20                         Defendants.

21
            I, Jonathan P. Hawley, hereby declare as follows:
22
            1.      I am over the age of eighteen and competent to make this declaration. I am an
23
     attorney with the law firm Perkins Coie LLP and counsel for Plaintiffs in the above-captioned
24
     matter. I make this declaration based on personal knowledge about which I am competent to testify.
25

26

     DECL. OF JONATHAN P. HAWLEY                                              Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
     (No. C25-255 JNW)                                                 Seattle, Washington 98101-3099
                                                                           Phone: +1.206.359.8000
                                                                             Fax: +1.206.359.9000
            Case 2:25-cv-00255-JNW          Document 15        Filed 02/11/25         Page 2 of 5




 1          2.     I submit this declaration to provide the Court true and correct copies of certain

 2   documents submitted in support of Plaintiffs’ motion for temporary restraining order and

 3   preliminary injunction:

 4          Exhibit 1 is a true and correct screen capture of the webpage titled “Refugee Admissions,”

 5   which contains archived content released online from January 20, 2021, to January 20, 2025. The

 6   webpage was captured at my direction on February 11, 2025, and is available on the U.S.

 7   Department of State website at https://2021-2025.state.gov/refugee-admissions.

 8          Exhibit 2 is a true and correct screen capture of the first tab of the document titled

 9   “Summary of Refugee Admissions as of 31-December-2024.” The report was captured at my

10   direction on February 11, 2025, and is available on the Refugee Processing Center website at

11   https://www.wrapsnet.org/admissions-and-arrivals (click “Refugee Admissions Report as of

12   December 31, 2024”).

13          Exhibit 3 is a true and correct copy of the document titled “Proposed Refugee Admissions

14   for Fiscal Year 2025.” The report was downloaded at my direction on February 11, 2025, and is

15   available on the U.S. Department of State website at https://www.state.gov/wp-content/uploads/

16   2024/10/Report-Proposed-Refugee-Admissions-for-FY25.pdf.

17          Exhibit 4 is a true and correct screen capture of the webpage titled “Presidential

18   Determination on Refugee Admissions for Fiscal Year 2025.” The webpage was captured at my

19   direction on February 11, 2025, and is available on the Federal Register website at https://

20   www.federalregister.gov/documents/2024/10/18/2024-24321/presidential-determination-on-

21   refugee-admissions-for-fiscal-year-2025.

22          Exhibit 5 is a true and correct copy of the document titled “United States Refugee

23   Admissions Program (USRAP).” The document was downloaded at my direction on February 10,

24   2025, and is available on the U.S. Citizenship and Immigration Services website at https://

25   www.uscis.gov/sites/default/files/document/charts/USRAP_FlowChart.pdf.

26

     DECL. OF JONATHAN P. HAWLEY – 2                                           Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
     (No. C25-255 JNW)                                                  Seattle, Washington 98101-3099
                                                                            Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
            Case 2:25-cv-00255-JNW          Document 15          Filed 02/11/25       Page 3 of 5




 1          Exhibit 6 is a true and correct screen capture of the webpage titled “Resettlement Process.”

 2   The webpage was captured at my direction on February 11, 2025, and is available on the Refugee

 3   Council USA website at https://rcusa.org/resources/resettlement-process.

 4          Exhibit 7 is a true and correct screen capture of the webpage titled “U.S. Resettlement

 5   Partners.” The webpage was captured at my direction on February 11, 2025, and is available on

 6   the UN Refugee Agency website at https://www.unhcr.org/us/what-we-do/resettlement-united-

 7   states/u-s-resettlement-partners.

 8          Exhibit 8 is a true and correct screen capture of the webpage titled “Domestic Refugee

 9   Resettlement—the Reception and Placement Program and Welcome Corps,” which contains

10   archived content released online from January 20, 2021, to January 20, 2025. The webpage was

11   captured at my direction on February 11, 2025, and is available on the U.S. Department of State

12   website at https://2021-2025.state.gov/refugee-admissions/domestic-resettlement.

13          Exhibit 9 is a true and correct copy of the document titled “Population, Refugees, and

14   Migration.” The document was downloaded at my direction on February 10, 2025, and is available

15   on   the   Refugee    Processing    Center   website   at    https://www.wrapsnet.org/documents/

16   FY%202023%20Reception%20&%20Placement%20Fact%20Sheet.pdf.

17          Exhibit 10 is a true and correct copy of the document titled “90-Day Report in Compliance

18   with Settlement Agreement for Executive Order 13815, Doe (JFS) v. Trump.” The document was

19   provided to me by counsel of record in the matters of Doe v. Trump, No. C17-0178JLR (W.D.

20   Wash.), and Jewish Family Service of Seattle v. Trump, No. C17-1707JLR (W.D. Wash.).

21          Exhibit 11 is a true and correct screen capture of the article titled “Resettlement Agencies

22   Race to Help Refugees Ahead of Trump’s Second Term.” The article was captured at my direction

23   on February 11, 2025, and is available on the Associated Press website at https://apnews.com/

24   article/refugees-trump-resettlement-connecticut-6ad8a0504c6094cdf4c33e491fa25bc6.

25          Exhibit 12 is a true and correct screen capture of the press release titled “Governor Healey

26   Declares State of Emergency, Calls for Support for Newly Arriving Migrant Families.” The press

     DECL. OF JONATHAN P. HAWLEY – 3                                           Perkins Coie LLP
                                                                        1201 Third Avenue, Suite 4900
     (No. C25-255 JNW)                                                  Seattle, Washington 98101-3099
                                                                            Phone: +1.206.359.8000
                                                                              Fax: +1.206.359.9000
             Case 2:25-cv-00255-JNW           Document 15         Filed 02/11/25         Page 4 of 5




 1   release was captured at my direction on February 11, 2025, and is available on the Commonwealth

 2   of Massachusetts website at https://www.mass.gov/news/governor-healey-declares-state-of-

 3   emergency-calls-for-support-for-newly-arriving-migrant-families.

 4           Exhibit 13 is a true and correct copy of the document titled “Emergency Executive Order

 5   No. 224.” The document was downloaded at my direction on February 11, 2025, and is available

 6   on the City of New York website at https://www.nyc.gov/assets/home/downloads/pdf/executive-

 7   orders/2022/eeo-224.pdf.

 8           Exhibit 14 is a true and correct copy of the declaration of Plaintiff Pacito, dated February 8,

 9   2025.

10           Exhibit 15 is a true and correct copy of the declaration of Plaintiff Esther, dated February 9,

11   2025.

12           Exhibit 16 is a true and correct copy of the declaration of Plaintiff Josephine, dated

13   February 9, 2025.

14           Exhibit 17 is a true and correct copy of the declaration of Plaintiff Sara, dated February 9,

15   2025.

16           Exhibit 18 is a true and correct copy of the declaration of Plaintiff Alyas, dated February 8,

17   2025.

18           Exhibit 19 is a true and correct copy of the declaration of Plaintiff Marcos, dated

19   February 6, 2025.

20           Exhibit 20 is a true and correct copy of the declaration of Plaintiff Ali (with

21   Attachment A), dated February 7, 2025.

22           Exhibit 21 is a true and correct copy of the declaration of Plaintiff Ahmed, dated

23   February 6, 2025.

24           Exhibit 22 is a true and correct copy of the declaration of Plaintiff Rachel, dated

25   February 8, 2025.

26

     DECL. OF JONATHAN P. HAWLEY – 4                                              Perkins Coie LLP
                                                                           1201 Third Avenue, Suite 4900
     (No. C25-255 JNW)                                                     Seattle, Washington 98101-3099
                                                                               Phone: +1.206.359.8000
                                                                                 Fax: +1.206.359.9000
             Case 2:25-cv-00255-JNW          Document 15          Filed 02/11/25       Page 5 of 5




 1           Exhibit 23 is a true and correct copy of the declaration of Richard L. Santos (with

 2   Attachment A), dated February 11, 2025.

 3           Exhibit 24 is a true and correct copy of the declaration of Mark Hetfield (with

 4   Attachment A), dated February 11, 2025.

 5           Exhibit 25 is a true and correct copy of the declaration of David Duea, dated February 11,

 6   2025.

 7                                            ⁎       ⁎       ⁎

 8           I declare under penalty of perjury under the laws of the United States that the foregoing is

 9   true and correct.

10           EXECUTED this 11th day of February, 2025, at Seattle, Washington.
11
                                                           s/ Jonathan P. Hawley
12                                                         Jonathan P. Hawley

13

14

15

16

17

18

19

20

21

22

23

24

25

26

     DECL. OF JONATHAN P. HAWLEY – 5                                            Perkins Coie LLP
                                                                         1201 Third Avenue, Suite 4900
     (No. C25-255 JNW)                                                   Seattle, Washington 98101-3099
                                                                             Phone: +1.206.359.8000
                                                                               Fax: +1.206.359.9000
